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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

RICK HARRISON, JOHN BUCKLEY III,
MARGARET LOPEZ, ANDY LOPEZ, Case No. 1:13-cv-03127 (AT)
KEITH LORENSEN, LISA LORENSEN,
EDWARDS LOVE, ROBERT MCTUREOUS,
DAVID MORALES, GINA MORRIS, TURNOVER ORDER AGAINST
MARTIN SONGER, JR., SHELLY SONGER, BNP PARIBAS

JEREMY STEWARD, KESHA STIDHAM,
AARON TONEY, ERIC WILLIAMS, CARL
WINGATE, AND TRACY SMITH, as Personal

 

 

 

 

 

Representative of the Estate of Rubin Smith, USDC SDNY

Plaintiffs, DOCUMENT

|] ELECTRONICALLY FILED
vs. | DOC #:.
DATE FILED:_///7//3

THE REPUBLIC OF SUDAN,

Defendant,
VS.
BNP PARIBAS,

Respondent.

 

 

AND NOW, this 4th day of November, 2013, upon Plaintiffs’ Petition for
Turnover Order Against BNP Paribas Pursuant to 28 U.S.C. § 1610(g), CPLR § 5225(b) and
Federal Rule of Civil Procedure 69(a), the Motion is GRANTED. The Court hereby finds and
orders as follows:

1. Plaintiffs obtained a judgment in the District Court for the District of Columbia in
the amount of $314,705,896, plus interest (the “Judgment”), and the entire principal amount of
the Judgment remains unsatisfied.

2. Funds held at BNP Paribas are subject to execution and attachment under the

Foreign Sovereign Immunities Act because the owners of the funds are agencies and

 
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instrumentalities of the Republic of Sudan.

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agency and instrumentality of the Sudanese government.

The following accounts, totaling

F. plus accrued interest, are subject to execution to satisfy the Plaintiffs’ outstanding

 

 

 

 

 

 

 

 

 

judgment:
Respondent Bank Account Beneficiary | Blocking Date Value
(as of June 30, 2012)
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4. ee is an agency and instrumentality

of the Sudanese government. The following accounts, totaling gama . plus accrued interest,

are subject to execution to satisfy the Plaintiffs’ outstanding judgment:

 

Respondent Bank

Account Beneficiary

 

BNP Paribas

 

BNP Paribas

 

 

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Blocking Date

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(as of June 30, 2012)

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5. a iis an agency and instrumentality of the Sudanese government.

The following accounts, totaling Ig , plus accrued interest, are subject to execution to

satisfy the Plaintiffs’ outstanding judgment:

 

 

 

 

 

 

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judgment:
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accounts, totaling Jaga plus accrued interest, are subject to execution to satisfy the

Plaintiffs’ outstanding judgment:

 
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Respondent Bank

Account Beneficiary

 

BNP Paribas

 

 

BNP Paribas

 

 

Blocking Date

Value
(as of June 30, 2012)

 

 

 

8. eee 8 8 agency and

instrumentality of Sudan. The following accounts, totaling Jj , plus accrued interest, are

subject to execution to satisfy the Plaintiffs’ outstanding judgment:

 

 

 

 

 

 

 

 

 

 

 

Respondent Bank Account Beneficiary | Blocking Date Value
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9. The Court hereby directs BNP Paribas to turn over the proceeds of foregoing

accounts, totaling aaa , together with any accrued interest, to the Plaintiffs within ten

(10) days from the date of this Order.

10.

necessary to the Sudanese agencies and instrumentalities.

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An OFAC license is not necessary to disburse these funds and no notice is

iser v. Bank of Tokyo

Mitsubishi UFJ, New York Branch, 919 F. Supp. 2d 411, 422 (S.D.N.Y. 2013); Heiser v. Islamic

Republic of Iran, 807 F. Supp. 2d 9, 23 (D.D.C. 2011); Weininger v. Castro, 432 F. Supp. 2d 457

 
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(S.D.N.Y. 2006).
11. This Order enforces a duly registered District Court judgment from the District of

Columbia, recognized by a New York Federal Court and given full faith and credit by this Court.

SO ORDERED.

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ANALISA TORRES
United States District Judge

Dated: November 4, 2013
New York, New York

 

 
